Case 2:24-cv-00344-RJS              Document 65        Filed 05/06/25   PageID.1578          Page 1 of 1



                                United States District Court
                                     District of Utah
Gary P. Serdar                                                                         Alison J. Adams
Clerk of Court                                                                       Chief Deputy Clerk

                                                  May 6, 2025
Frank Hedin
HEDIN LLP
1395 BRICKELL AVE STE 610
MIAMI, FL 33131

RE:     NOTICE OF APPEAL
        Arnstein et al v. Sundance Holdings Group, L.L.C.
        Plaintiff/Appellant Defendant/Appellee
        Lower Docket: 2:24-cv-00344-RJS

The notice of appeal for this case has been filed.

RETAINED Counsel for the appellant is instructed to download the “Initial Appeal Documents
and Instructions” for this appeal from www.ca10.uscourts.gov In addition, counsel will need to
download the "Designation of Record" form from the 10th Circuit web site. Please follow the
instructions for Transcript Order Form and Docketing Statement (all parties represented by
counsel) regarding counsel’s responsibility for compliance. For specific requirements concerning
transcripts, records on appeal, briefs and appendices to briefs, please refer to the Federal Rules of
Appellate Procedure and the Rules of the Tenth Circuit Court of Appeals. Rules of the Tenth
Circuit are available at www.ca10.uscourts.gov.

Counsel and the Tenth Circuit will receive the following via CM/ECF (If counsel or party are not
e-filers, they will receive these documents by mail): Order/Judgment being appealed from,
Notice of Appeal, Letter of Transmission of the Preliminary Record on Appeal, Docket Sheet.
This case does not contain any sealed entries or documents.

Sincerely,

Gary P. Serdar, Clerk

By:/s/
Jennifer Jensen
Generalist Clerk


cc: Clerk, U.S. Court of Appeals, Tenth Circuit                         Judge Robert J. Shelby
Court Reporter: Ed Young                                                Counsel of Record
District: 1088                                                          Division: Central
Jurisdiction: Diversity
Fee Status: Paid



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